                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

  REGINALD CORNELIUS LATSON,                      )
                                                  )
                   Plaintiff,                     )     Case No. 1:16CV00039
                                                  )
  v.                                              )     OPINION AND ORDER
                                                  )
  HAROLD W. CLARKE, ET AL.,                       )     By: James P. Jones
                                                  )     United States District Judge
                   Defendants.                    )

         Caitlin Marie Kasmar, Katherine Katz, John Bell Williams III, and Timothy
  James Coley, Buckley Sandler LLP, Washington, D.C., and Philip Fornaci,
  Washington Lawyers’ Committee for Civil Rights and Urban Affairs, Washington,
  D.C., for Plaintiff; Jeff W. Rosen and Christina E. Cullom, Pender & Coward, PC,
  Virginia Beach, Virginia, and Laura Maughan, Office of the Attorney General,
  Richmond, Virginia, for Defendants.

        In this civil rights case brought by a formerly incarcerated person, I

  previously granted in part the plaintiff’s Motion to Compel and permitted the

  plaintiff to serve additional interrogatories and requests for admission on defendant

  Virginia Department of Corrections (“VDOC”). Op. & Order, May 14, 2018, ECF

  No. 230. I stated that I would “require VDOC to pay the plaintiff’s attorneys’ fees

  and costs incurred in preparing the Motion to Compel and the additional written

  discovery permitted” and gave the plaintiff an opportunity to submit an itemization

  of fees and costs. Id. at 11. The plaintiff’s fee request is now before me, having

  been fully briefed.    For the reasons that follow, I will award the plaintiff




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  $16,132.50, which is approximately half the amount the plaintiff requests, but

  which I find to be a reasonable amount for the tasks at issue.

         “The starting point for establishing the proper amount of [a fee] award is

  [the so-called lodestar product,] the number of hours reasonably expended,

  multiplied by a reasonable hourly rate.” Rum Creek Coal Sales, Inc. v. Caperton,

  31 F.3d 169, 174 (4th Cir. 1994). Other considerations, such as those identified in

  Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th Cir.1974), may

  require that the award be adjusted from the lodestar figure.1 Rum Creek, 31 F.3d at

  175.

         The plaintiff contends that Washington, D.C., is the relevant community for

  determining the appropriate hourly rates because this case was originally filed in

  the nearby Alexandria Division of the Eastern District of Virginia, and related

  claims remained there after the claims in this case were severed and transferred to

  this court. 2 As a result, argues the plaintiff, it would have been inefficient to have


         1
            The Johnson factors are: (1) the time and labor required; (2) the novelty and
  difficulty of the questions; (3) the level of skill required to perform the legal service
  properly; (4) the preclusion of employment by the attorney due to acceptance of the case;
  (5) the customary fee; (6) whether the fee is fixed or contingent; (7) the time limitations
  imposed by the client or the circumstances; (8) the amount involved and the results
  obtained; (9) the experience, reputation, and the ability of the attorneys; (10) the
  undesirability of the case; (11) the nature and length of the professional relationship with
  the client; and (12) awards in similar cases. 488 F.2d at 717–19; Rum Creek, 31 F.3d at
  175.
         2
          The claims remaining in the Eastern District of Virginia involved the plaintiff’s
  confinement in the Rappahannock Regional Jail, located in that judicial district, while the
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  separate counsel handling these two different cases with overlapping facts and

  evidence. VDOC argues that the prevailing hourly rate for an attorney in the

  Abingdon Division of the Western District of Virginia should apply here.

        The party seeking a fee award bears the burden of proving that the hourly

  rate sought is reasonable. McAfee v. Boczar, 738 F.3d 81, 91 (4th Cir. 2013).

  “The relevant market for determining the prevailing rate is ordinarily the

  community in which the court where the action is prosecuted sits.” Rum Creek

  Coal Sales, Inc, 31 F.3d at 175.

        I find that the relevant market in this case is the Western District of Virginia,

  Abingdon Division, rather than Washington, D.C., where prevailing hourly rates

  are considerably higher. While it is true that the claims in this case were originally

  filed in the Alexandria Division of the Eastern District of Virginia and were

  severed and transferred here, Mem. Op. & Order 16-17, Latson v. Clarke, No.

  1:16-cv-00447-GBL-MSN (E.D. Va. Oct. 14, 2016) (filed in this case at ECF No.

  79), it would have been entirely feasible and efficient for the plaintiff to find

  counsel in this district and division.         The facts and evidence regarding

  Rappahannock Regional Jail were significantly different from those relating to

  Marion Correctional Treatment Center and the defendants in this case. While

  plaintiff’s counsel has represented that they are handling this case pro bono and

  claims transferred here related to the Marion Correctional Treatment Center, located in
  this district.
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  suggest it would have been difficult to find other pro bono counsel for Mr. Latson

  in this division, I disagree with that assertion. I believe that there are attorneys

  who likely would have been willing to take on this case on a contingency fee basis

  with the possibility of recovering statutory attorneys’ fees under 42 U.S.C. §

  1988(b). I find that it has not been shown that it was necessary for the plaintiff to

  retain counsel from Washington, D.C., and the higher hourly rates those attorneys

  seek are not justified in this case.

        The plaintiff did not submit any evidence as to the reasonable hourly rate for

  a civil rights attorney in the Abingdon Division, but VDOC submitted an affidavit

  of Rosalie P. Fessier, an attorney based within the Harrisonburg division of this

  district. Fessler routinely works on § 1983 cases and is familiar with the hourly

  rates typically charged for those cases in the Abingdon Division. She opined that

  reasonable hourly rates would be $275 per hour for attorney Kasmar, a partner

  with 14 years of experience; $250 per hour for attorney Williams, a counsel with

  11 years of experience; and $200 for attorney Kumar, an associate with five years

  of experience. In contrast, plaintiff’s counsel have requested to be compensated at

  hourly rates of $483, $410, and $346, respectively.

        In 2015, I awarded fees at a rate of $300 per hour in a Title VII employment

  discrimination case. Atkins v. Va. Dep’t of Transp., 1:13CV00057, 2015 WL

  858870, at * 3 (W.D. Va. Feb. 27, 2015). The attorneys in that case had eight and


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  nine years of experience, including federal clerkship experience. I adopted the

  magistrate judge’s finding that $300 per hour was a reasonable rate for attorneys

  with that level of experience specializing in civil rights litigation in the Abingdon

  Division.

        Although I am not required to award the same rate in this case that I have

  awarded in other cases, I find that a rate of $300 per hour is reasonable for the

  work of attorneys Kasmar and Williams. I find that an hourly rate of $225 is

  appropriate for the work of attorney Kumar. I recognize that the moving party

  bears the burden of offering evidence sufficient to establish a reasonable hourly

  rate and the plaintiff has not provided such evidence as to the Abingdon Division,

  but I conclude that my experience and knowledge of the rates charged in this kind

  of case in this geographic area allow me to find that the rates above are reasonable.

        Having determined the appropriate hourly rates, I must next calculate a

  reasonable number of hours expended by plaintiff’s counsel on the Motion to

  Compel and subsequent discovery requests. VDOC argues that any time entries

  for “meet and confers” should be removed from the calculation of the fee award

  because counsel is required to meet and confer with opposing counsel before filing

  a motion to compel, and I only permitted plaintiff’s counsel to request fees

  incurred in preparing the motion and subsequent discovery requests. I agree with

  VDOC that these prerequisite conferences between counsel, although necessary,


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  were not part of preparing the Motion to Compel, and I decline to include them in

  the fee award. I will therefore omit from my fee calculation the following time

  entries:

     Date      Timekeeper                         Narrative                    Hours
                              Draft Letter to AG regarding open discovery
  12/14/2017 Williams         items.                                          0.5
                              Draft correspondence with Attorney
  12/20/2017 Williams         General’s office.                               0.9
                              Draft and revise correspondence to Attorney
  12/21/2017 Williams         General.                                        1.0
                              Review and revise correspondence with
  12/22/2017 Kasmar           Attorney General regarding discovery issues.    0.5
                              Draft meet-and-confer letter regarding
  1/9/2018     Williams       30(b)(6) testimony.                             0.5
                              Draft letter to defendants regarding open
  1/30/2018    Williams       discovery issues.                               1.1
                              Review materials and revise draft letter to
  1/31/2018    Williams       Defendants regarding open discovery issues.     0.4
                              Review letter from Attorney General
  2/9/2018     Kasmar         regarding discovery issues.                     0.2
                              Review letter regarding open discovery
                              issues; develop response to letter; schedule
  2/13/2018    Williams       meet and confer with opposing counsel.          0.5
                              Preparation for and attendance at discovery
  2/22/2018    Kasmar         discussion.                                     1.5

  Williams Decl. Supp. Pet. Recoverable Att’ys Fees Ex. 1, ECF No. 233-2.

        The following time entries include multiple tasks and are partially related to

  meeting with opposing counsel and partially related to preparing the Motion to

  Compel. Because I cannot determine which portion of each entry is allocable to

  the Motion to Compel, I will reduce each of these time entries by 50%:


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        Date    Timekeeper                       Narrative                      Hours
                              Prepare for and participate in meet-and-
                              confer call with opposing counsel regarding
                              open discovery items; revise draft Motion to
  1/4/2018      Williams      Compel additional 30(b)(6) testimony.            6.1
                              Review and revise draft meet and confer
                              letter regarding 30(b)(6) testimony; review
  1/10/2018     Williams      draft 30(b)(6) motion.                           3.5
                              Revise 30(b)(6) meet and confer letter; revise
  1/11/2018     Williams      30(b)(6) motion.                                 2.8
                              Participate in meet-and-confer call with
  1/12/2018     Williams      Virginia AG; revise 30(b)(6) motion.             4.0
                              Prepare for and participate in meet and
                              confer call with opposing counsel, update
  2/22/2018     Williams      draft 30(b)(6) Motion to Compel.                 1.5

  Id.

          The following time entry includes an insufficient description and will be

  omitted from the calculation of recoverable fees:

  1/3/2018      Williams      issues.                                          2.0

  Id.

          VDOC argues that the requested 17.6 hours for preparation of additional

  interrogatories and requests for admission is excessive. I agree. The substance of

  the contemplated interrogatories and requests should have been clear following

  briefing of the Motion to Compel, and plaintiff’s counsel should have been able to

  draft the written discovery requests is far less time than the 10.5 hours indicated. I

  will subtract five hours from the recorded time of attorney Kumar because I find

  that 5.5 hours is a reasonable amount of time expended to draft these requests.

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        After these adjustments, the amount of time reasonably spent by plaintiff’s

  counsel to prepare the Motion to Compel and subsequent discovery requests is

  55.15 hours rather than the 78.2 hours requested by plaintiff’s counsel. This total

  includes 46.55 hours for attorney Williams, 3.1 hours for attorney Kasmar, and 5.5

  for attorney Kumar.     Applying the hourly rates determined above, the total

  reasonable amount of attorneys’ fees recoverable under my May 14, 2018, Order is

  $16,132.50.

        For the foregoing reasons, it is hereby ORDERED that the plaintiff is

  awarded attorneys’ fees against the Virginia Department of Corrections in the

  amount of $16,132.50.


                                               ENTER: November 6, 2018

                                               /s/ James P. Jones
                                               United States District Judge




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